
PER CURIAM.
AFFIRMED. See Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150, 1152 (Fla.1979) (holding that “[i]n appellate proceedings the decision of the trial court has the presumption of correctness and the burden is on the appellant to demonstrate error.”); Prymus v. Prymus, 753 So.2d 742 (Fla. 3d DCA 2000) (stating that without a transcript or proper substitute of the final hearing below “the presumption of correctness which attaches to this final judgment remains intact and we can find no abuse of discretion in this regard.”).
THOMPSON, C.J., SAWAYA and PLEUS, JJ., concur.
